Case 21-03032-MBK                     Doc 119         Filed 11/29/21 Entered 11/29/21 17:14:05                                   Desc Main
                                                     Document     Page 1 of 3



 WOLLMUTH MAHER & DEUTSCH LLP
 James N. Lawlor, Esq.
 500 Fifth Avenue, 12th Floor
 New York, New York 10110
 -and-
 90 Washington Valley Road
 Bedminster, NJ 07921
 Tel: (212) 382-3300
 Fax: (212) 382-0050
 Email: jlawlor@wmd-law.com

 Proposed Co-Counsel for LTL Management LLC

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 In re:                                                                             Case No.: 21-30589 (MBK)

 LTL MANAGEMENT LLC, 1                                                              Chapter 11

                                                         Debtor.                    Honorable Michael B. Kaplan


 LTL MANAGEMENT LLC,                                                                Adv. Proc. No. 21-03032 (MBK)

                         Plaintiff,
 v.

 THOSE PARTIES LISTED ON
 APPENDIX A TO COMPLAINT and
 JOHN AND JANE DOES 1-1000,

                         Defendants.


                       NOTICE OF APPEARANCE IN ADVERSARY PROCEEDING

        PLEASE TAKE NOTICE that pursuant to section 1109 of title 11 of the United States

 Code, 11 U.S.C. § 101 et seq., and Rules 2002, 3017, 9007 and 9010 of the Federal Rules of

 Bankruptcy Procedure, LTL Management LLC, Plaintiff in the above referenced adversary


 1
     The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George Street, New Brunswick, New
        Jersey 08933.
Case 21-03032-MBK         Doc 119     Filed 11/29/21 Entered 11/29/21 17:14:05               Desc Main
                                     Document     Page 2 of 3



 proceeding, appears through its proposed co-counsel, Wollmuth Maher & Deutsch LLP, and

 requests service of all notices and documents herein upon:

                                       James N. Lawlor, Esq.
                                  Wollmuth Maher & Deutsch, LLP
                                   500 Fifth Avenue, 12th Floor
                                   New York, New York 10110
                                          (212) 382-3300
                                      jlawlor@wmd-law.com

 Counsel also requests that all ECF/electronic notices be sent to jlawlor@wmd-law.com.

        PLEASE TAKE FURTHER NOTICE that the foregoing request for service includes

 all pleadings of any kind, including, without limitation, all notices, applications, motions,

 complaints, and orders, whether written or oral, formal or informal, however transmitted or

 conveyed, related in any way to the above-captioned Debtor, its property, or its estate.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance in

 Adversary Proceeding (the “Notice”) nor any later appearance, pleading, proof of claim, claim,

 or suit shall constitute a waiver of (i) the right to have final orders in noncore matters entered

 only after de novo review by a District Judge, (ii) the right to trial by jury in any proceeding

 triable in these cases or any case, controversy, or proceeding related to these cases, (iii) the right

 to have the District Court withdraw the reference in any matter subject to mandatory or

 discretionary withdrawal, (iv) any objection to the jurisdiction of this Bankruptcy Court for any

 purpose other than with respect to this Notice, (v) an election of remedies, or (vi) any other

 rights, claims, actions, defenses, setoffs, or recoupments as appropriate, in law or in equity under

 any agreements, all of which rights, claims, actions, defenses, setoffs, and recoupments are

 expressly reserved.




                                                   2
Case 21-03032-MBK    Doc 119    Filed 11/29/21 Entered 11/29/21 17:14:05   Desc Main
                               Document     Page 3 of 3



 Dated: November 29, 2021
        New York, New York


                                       Respectfully submitted,

                                       WOLLMUTH MAHER & DEUTSCH LLP

                                       By: /s/ James N. Lawlor
                                       James N. Lawlor

                                       500 Fifth Avenue, 12th Floor
                                       New York, New York 10110
                                       -and-
                                       90 Washington Valley Road
                                       Bedminster, NJ 07921
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                                       Proposed Co-Counsel for LTL Management LLC




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